B2030 (Fo_rm .

In re

Debtor

l.

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2030) (12/15)

United States Bankruptcy Court
We§ ”l'f/r/\ District Of` M‘J/\ "§ H-J

CaseNo. )g' 00 "_l;'

Chapter 7

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR I)EBTOR

Pnrsuant tc ll U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that Llam the attorney for the above
named debtor(s) and that compensation paid to me within one year before the filing of the petition in
bankruptcy , or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in

contempla

For legal s

ion of or in connection with the bankruptcy case is as follows:

7 00
ervices, l have agreed to accept .............................. $ 60 i 0 »

09
Prior to the filing of this statement l have received . ................. . ..... $ G 2 0 '
Balance Due ...................................................... $ @_i

The source of the compensation paid to me was:

m Debtor |:| Other (specif`y)

The source of compensation to be paid to me is:

|:| Debtor l:| Other (specify)

§ I have not agreed to share the above~disclosed compensation with\any other person unless they are
members and associates of my law firm.

|:l l have agreed to share the above-disclosed compensation With a other person or persons who are not

members or associates of my law firm. A copy of the agreement, together with a list of the names of the
people sharing in the compensation, is attached

ln return for the above-disclosed fee, l have agreed to render legal service for all aspects of the bankruptcy
case, includ ing:

¢‘:l.

Analysds of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
file a petition in bankruptcy;

Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

Repres entation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
hearings thereof;

 

 

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d.. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

e. [Other provisions as needed]

6. By agreement with the debtor(s), the above-disclosed fee does not includethe following services:

 

CERT[FICATION

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to

rn_e for r resentation of the debtor(s) in MW_`

Date Signatare ofAttorney

towns trw twice Ftc,<>

Name oflawj‘irm

 

 

 

 

 

 

 

